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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 DR. VALENTIN GAPONTSEV and IPG
 PHOTONICS CORP.,


                    Plaintiffs,

        v.                                            Civil Docket No. 1:18-cv-02826-RC-GMH

 U.S. DEPARTMENT OF THE TREASURY
 and STEVEN MNUCHIN, in his official
 capacity as Secretary of the Treasury,

                    Defendants.


                                   JOINT STATUS REPORT

       Pursuant to this Court’s June 14, 2019 Order, the parties submit this joint status report

regarding the status of mediation. Through Judge Harvey, the parties have reached an agreement

in principle that would allow for the resolution of this action. The parties are drafting

appropriate documentation and seeking formal approvals. The parties hope to make filings

reflecting the agreement in principle within the next three weeks.




Dated: June 28, 2019                              Respectfully submitted,

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